Case 2:04-cv-02771-BBD-dkv Document 118 Filed 06/30/05 Page 1 0f'8 Page|D 121

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UNITED STATES DISTRICT cOURT '““ D-C.
FOR THE WESTERN DISTRICT 0F TENNESSEE 05 JU~ 30 P
WESTERN SECTION AT MEMPHIS H 3= 15
AMERICAN cOPPER & BRASS, INC., on) dwng
behalf ofitself and an others similarly W/é §§ ,Tg;"MH§SO¢M

situated,

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)
)
Plaintiffs, )
V § Civil Action No. 04-2771
' Judge Donald
BOLIDEN AB; et ah § Magistrate Judge Vescovo
)
)
)

Defendants.

 

ORDER GRANTING MOTION FOR ADMISSION
PRO HAC VICE OF DAVID I. GELFAND

 

The Court, having considered the motion of Defendants, KME Amen'ca Inc. (“KME”) to
allow David I. Gelfand, Esq. of Cleary, Gott]ieb, Steen & Hamilton, to appear m M:_ w in
this case, finds that the motion is well taken and Should be GRANTED.

IT IS, THEREFORE, ORDERED that David I. Gelfand of the law firm Cleary,
Gottlieb, Steen & Hamilton may appear in this case pr_o M M.

sIGNEl), this rhe.£O f‘“day of Qc/.¢/- . 2005.

  
 

Judge Donald

   

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105928-001 6/21!2005 with Ru!e 58 and/or 79(3) FHCP on w

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Case 2:O4-cv-O2771-BBD-dkv Document 118 Filed 06/30/05 Page 2 of 8 Page|D 122

APPROVED FOR ENTRY

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105928-001 6/21/2005

Case 2:O4-cv-O2771-BBD-dkv Document 118 Filed 06/30/05 Page 3 of 8 Page|D 123

CERTIFICATE OF SERVICE

 

I hereby certify that a true and correct copy of the foregoing document has been

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Case 2:O4-cv-O2771-BBD-dkv Document 118 Filed 06/30/05 Page 4 of 8 Page|D 124

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Case 2:O4-cv-O2771-BBD-dkv Document 118 Filed 06/30/05 Page 6 of 8 Page|D 126

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Case 2:O4-cv-O2771-BBD-dkv Document 118 Filed 06/30/05 Page 8 of 8 Page|D 128

Honorable Bernice Donald
US DISTRICT COURT

